
74 So.3d 31 (2011)
ALABAMA DEPARTMENT OF CORRECTIONS et al.
v.
Jerry Mack MERRITT et al.
2081084.
Court of Civil Appeals of Alabama.
June 24, 2011.
Troy King, atty. gen., and James W. Davis, asst. atty. gen.; and Albert S. Butler, asst. gen. counsel, Alabama Department *32 of Corrections, for appellants/cross-appellees Department of Corrections et al.
Henry L. Penick of H.L. Penick &amp; Associates, P.C., Birmingham, for appellees/cross-appellants Jerry Mack Merritt et al.

After Remand from the Alabama Supreme Court
PER CURIAM.
The prior judgment of this court has been reversed and the cause remanded by the Supreme Court of Alabama. Ex parte Alabama Dep't of Corr., [Ms. 1100129, May 13, 2011] 74 So.3d 25 (Ala.2011). On remand to this court, and in compliance with the supreme court's opinion, the appeal is dismissed in its entirety, with instructions for the trial court to vacate its 54(b), Ala. R. Civ. P., certification.
APPEAL DISMISSED WITH INSTRUCTIONS.
All the judges concur.
